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            Exhibit 359
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THOMAS A. CLARE, P.C.                                                                        MEGAN L. MEIER

                                                  March 31, 2021

   Via Email & Federal Express

    Patrick Byrne
    9810 East Martha Rd.
    Alta, UT 84092
    pmbyrne@protonmail.com

           Re:       Your False Claims About Dominion

    Mr. Byrne:

            We write again on behalf of US Dominion Inc.1 You have repeatedly and falsely claimed
    that the 2020 election was stolen through the manipulation of vote counts in Dominion machines.
    In support of that false claim, you have promoted fake “evidence” and “experts” including:

                 •    A misleading photograph of boxes containing Chinese-made transport bags, which
                      you claimed showed that Dominion machines are made in China.

                 •    A video by a convicted felon and swingset installer whom you falsely held out as a
                      “mathematician,” who falsely claimed that Dominion algorithms stole the election
                      in Philadelphia even though Dominion machines were not even used there.

                 •    A spreadsheet containing fake media access control (“MAC”) addresses, which you
                      claimed shows China and other countries hacking into Dominion machines and
                      flipping votes.

                 •    The debunked hacking claims of a failed treasure hunter who tried to find the Ark
                      of the Covenant.

                 •    An admittedly “misleading” affidavit from a former mechanic who failed out of the
                      entry-level training course on military intelligence, whom you falsely held out as a
                      “military intelligence analyst” even though he is not and never has been a military
                      intelligence analyst.

                 •    A so-called “forensic audit report” by a “Deep State” conspiracy theorist, whom you
                      falsely held out as an expert in forensic analysis of voting machines, even though he
                      had previously been discredited for citing counties in Minnesota to allege fraud in

    1
     We also represent and write on behalf of its subsidiaries, Dominion Voting Systems, Inc., and Dominion Voting
    Systems Corporation (collectively, “Dominion”).
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                   Michigan and even though his report was debunked by election security experts and
                   other knowledgeable sources as “critically flawed” and “riddled with false and
                   unsupported claims, baseless attacks, and incorrect use of technical terms,” and
                   showing a “grave misunderstanding” of the voting machine and “a lack of knowledge
                   of election technology and process.”

        Because your demonstrably false claims have caused and are continuing to cause enormous
irreparable harm to Dominion, its employees, and American democracy, we write to demand that
you retract your false claims and set the record straight. Although you have claimed to have “physical
evidence that proves absolute proof of fraud,” 2 the only “evidence” you have put forward is
misleading and manufactured or has been debunked, and is therefore no evidence of fraud at all.
For example:

I.       The Misleading Photograph

        The photograph you put forward “to end debate on whether Dominion machines are made
in China” depicts boxes of transport bags used to transport Dominion machines. 3 While the
transport bags are made in China and a small number of subcomponents are sourced from China,
the voting machines are not. Although the person who took the photograph positioned himself so
that the words “Transport Bag” were partially obscured behind a metal beam, part of those words
can be made out on the boxes, just to the right of the navy and ivory beam on the left side of the
photograph:




II.      The Convicted Felon Slash Swingset Installer

       You have also promoted and published videos by Edward Solomon, whom you falsely
represented was a “mathematician,” writing that “the patterns and puzzles you see Solomon


2
  Patrick Byrne says evidence of election fraud is real, Economic War Room with Kevin Freedman (Dec. 1, 2020),
https://www.youtube.com/watch?v=PD_BHZQcmMI.
3
  Patrick Byrne, How DJT Lost the White House, Chapter 2: Was there Foreign Interference in this Election? You Make the Call.,
Deep Capture (Jan 31, 2021), https://www.deepcapture.com/2021/01/how-djt-lost-the-white-house-chapter-2-was-there-
foreign-interference-in-this-election-you-make-the-call/.



                                                               2
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unravelling in th[ese] two videos were precisely what our own cyber-ninjas were doing inside our
group.”4 In the videos you touted and published on your January 27, 2021 blog post, Solomon says
he is presenting “geometric proof that the 2020 presidential election was stolen in the city of Atlanta
in the state of Georgia” and that the “geometrical proof supersedes and statistical argument or
counterargument.” The first Solomon video you published on your blog falsely states that an
“algorithm” “manipulated” votes, stealing 25,000 votes from Trump in Atlanta alone.




        The second Solomon video you published features spreadsheets of purported voting data
from Philadelphia, while Solomon narrates: “I have all the data from Philadelphia and all the
tabulations done over time for the entire week after Election Day and I have discovered the way
Dominion actually distributes the votes. … [I]t transfers fractions between precincts… I discovered
that the fraction logic sets a specific number of votes that Trump is allowed to get… and then it puts
a minimum on Biden…. Before I get into the Dominion vote-switching…. This is how I finally figured
out how Dominion works…. I think Dominion has a certain number of votes it needs to flip…
Because Trump had such a huge margin, let’s say it needs to flip them and needs to make sure that
Biden gets 66 votes to every 33 votes for Trump… What it does, it just splits into blocks, these
fractional blocks…. This is what Dominion does, I’m going to split this into three precincts and
change the amount of votes that come in.”




4
 Patrick Byrne, How DJT Lost the White House, Chapter 1: All the President’s Teams, Deep Capture (Jan. 27, 2021),
https://www.deepcapture.com/2021/01/november-3-december-23-all-the-presidents-teams/.



                                                        3
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        Two problems. First, as you are surely aware from information that was readily available in
the public domain before you published Solomon’s videos, Dominion machines were not even used
in Philadelphia.5 This alone discredits Solomon and his outlandish vote-flipping claims against
Dominion.

        Second, far from being a “mathematician,” Mr. Solomon is an “installer” at Creative
Playthings (a swingset construction company) and a “Carpenter/Labor” at Racanelli Construction,
Inc.6 His LinkedIn profile says he “attended” Stony Brook University, but does not indicate that he
graduated.7 As publicly available records reflect, Mr. Solomon pled guilty to a felony charge of
“criminal sale of a controlled substance” and—according to records from New York’s Department of
Corrections—Solomon served seven months and five days in jail for his crime.8




III.    The Fake Spreadsheet

        You also posted a spreadsheet, which you claimed was from the “best cyber-forensics
specialist” you had ever met, and which you claimed documented the flipping of 299,567 votes via
attacks on election systems across Pennsylvania, Michigan, Wisconsin, Arizona, Nevada, and
Georgia. Although your post falsely suggests that the spreadsheet proves the hacking and
manipulation of vote tallies in Dominion machines, the IP addresses in the “Target” IP address field
are not the IP addresses of Dominion voting machines at all, but the IP addresses of county websites;
those IP addresses are publicly available in free online databases where anyone can copy them and
paste them into a spreadsheet.



5
    See Verified Voting, https://verifiedvoting.org/verifier/#mode/search/year/2020/state/42/county/101; Ali
Swenson, Philadelphia does not use Dominion Voting Systems technology, Associated Press (Nov. 22, 2020),
https://apnews.com/article/fact-checking-afs:Content:9798361760.
6
  Mr. Solomon’s personal Facebook page contains details about his work and education. Mr. Solomon’s Facebook is
available here: https://www.facebook.com/solomonscourge/about_work_and_education.
7
  See Mr. Solomon’s LinkedIn is available here: https://www.linkedin.com/in/edward-solomon-965842145/.
8
  See People v. Solomon, 162 A.D.3d 912, 912, 80 N.Y.S.3d 81, 82 (2018).



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         Whoever copied and pasted those publicly available county website IP addresses into the
spreadsheet also populated the spreadsheet with fake MAC addresses, identified in the sheet as the
“ID” columns. As you surely know from your technical background and interest in election hacking,
the first six digits of a MAC address are called an organizationally unique identifier (“OUI”), which
identifies the manufacturer of the device,9 and OUIs and MAC addresses are registered with and
administered by the Institute of Electrical and Electronics Engineers (“IEEE”).10 A basic MAC
address and OUI search, with which you are familiar, confirms that the IDs in the spreadsheet are
fake.

IV.      The Failed Treasure Hunter

        You have also put forward as “experts” Jovan Pulitzer and an unidentified purported “senior
corporate security expert” and published the lie—apparently sourced from them—that “someone
from China Telecom had come through the Internet onto the Smart Thermostat in order to connect
to” a “tabulating machine” in Georgia.11 As you are no doubt aware, Pulitzer is not an expert in
voting machines, and his claims have been disproven by independent forensic analysis conducted by
a testing laboratory certified by the U.S. Election Assistance Commission and recommended by the
National Institute of Standards and Technology, which found “no evidence of the machines being
tampered.”12 As explained by Georgia’s Secretary of State:

         [F]ailed treasure hunter, J. Hutton Pulitzer, or Commander Pulitzer (no record of
         military experience), claimed that he had “hacked” Georgia’s voting system. The
         treasure hunter provided no evidence … that he had done so, only claiming it had
         happened. … In another election disinformation-filled hearing, a small group of
         Republicans in the Georgia State Senate featured the claims of failed inventor and
         failed treasure hunter J. Hutton Pulitzer as a star witness. In his presentation, Hutton
         Pulitzer, formerly J. Jovan Philyaw, claimed without providing any evidence that he
         had “hacked” a poll pad. He then went on to claim that meant that the entire voting
         system was compromised even though the poll pad, like the poll books which they
         have replaced, are never connected to the rest of the voting system.

         Hutton Pulitzer was the inventor of CueCat, a cat shaped device that, when
         connected to the computer, allowed users to scan barcodes on ads that would bring
         up the website where they could purchase the advertised product. The device
         attracted $185 million in investment before becoming “an anathema of the tech
         industry and a cautionary tale for investors.” In 2006, it was listed as one of the “25
         worst tech products of all time” by PC World magazine.


9
  See Definition, Organizational Unique Identifier, PC Magazine, https://www.pcmag.com/encyclopedia/term/oui.
10
   See IEEE SA – Registration Authority, https://standards.ieee.org/products-services/regauth/index.html.
11
   Patrick Byrne, How DJT Lost the White House Chapter 4: The Christmas Doldrums (December 26- noon January 6), Deep
Capture (Feb. 4, 2021), https://www.deepcapture.com/2021/02/how-djt-lost-the-white-house-chapter-4-the-christmas-
doldrums-december-23-noon-january-6/.
12
   Georgia Secretary of State, Secretary Raffensperger Announces Completion of Voting Machine Audit Using Forensic Techniques:
No Sign of Foul Play, https://sos.ga.gov/index.php/elections/secretary_raffensperger_announces_completion_of_votin
g_machine_audit_using_forensic_techniques_no_sign_of_foul_play.



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         Hutton Pulitzer later became a treasure hunter, searching unsuccessfully for the Ark
         of the Covenant and later claiming that a sword, that was likely a fake, not only had
         “‘magical’ magnetic properties” but was also a sign that ancient Romans had visited
         North America by 200 A.D.

         His published work is comprised largely of “Commanders Lost Treasures” books, a
         separate one for many states in the U.S., and includes “How to Cut Off Your Arm
         and Eat Your Dog.”

         …

         In a statement, poll pad creator KnowInk said: “The assertions made about
         unauthorized access to our systems are patently false. The man claiming that
         someone ‘got into’ our systems did not happen according to our forensic analysis.
         There was no ‘hack,’ there was no ‘back door’ entry, there was no ‘pump and dump,’
         and there was no access through a ‘thermostat’ located hundreds of miles away in
         Savannah.”13

V.       The Misleading Affidavit from the Former Mechanic Who Failed Out of an Entry-Level
         Training Course on Military Intelligence

         Also in support of your false claims against Dominion, you have touted the affidavit of an
anonymous purported “military intelligence analyst.” 14 Your purported “military intelligence
analyst” has since been identified as Josh Merritt, who has admitted that he never actually worked
in military intelligence and that the declaration that was written for him to sign is “misleading” and
he “was trying to backtrack” on it.15 Far from being a “military intelligence analyst,” Merritt is an IT
consultant and former mechanic who washed out of the military’s entry-level training course on
intelligence.16

VI.      Your Bogus “Forensic Audit Report” on Antrim County, Michigan

       You have also repeatedly touted a so-called “forensic audit report” on Dominion machines
in Antrim County, Michigan. You apparently paid Allied Security Operations Group (“ASOG”) to
manufacture that report and its false assertions—which you republished—that “the Dominion Voting
System is intentionally and purposefully designed with inherent errors to create systemic fraud and
influence election results,” that its system “intentionally generates an enormously high number of

13
   Georgia Secretary of State, Fact Check: Georgia Senate Masquerades Failed Treasure Hunter as Hacker and Election Security
Expert, https://sos.ga.gov/index.php/elections/fact_check_georgia_senate_masquerades_failed_treasure_hunter_as_h
acker_and_election_security_expert.
14
      Patrick Byrne, Evidence Grows: ’20 Election Was Rigged, Deep Capture (Nov. 24, 2020),
https://www.deepcapture.com/2020/11/election-2020-was-rigged-the-evidence/.
15
   Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence expert,’ key to fraud claims in
election     lawsuits,   never    worked    in      military  intelligence,   Wash.      Post     (Dec.     11,      2020),
https://www.washingtonpost.com/investigations/sidney-powell-spider-spyder-witness/2020/12/11/0cd567e6-3b2a-
11eb-98c4-25dc9f4987e8_story.html.
16
   Id.



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ballot errors,” that the “intentional errors lead to bulk adjudication of ballots with no oversight, no
transparency, and no audit trail,” an issue “that leads to voter and/or election fraud,” that Dominion
was “subject to foreign interference in the 2020 election in the United States” and that its systems
have “defects that allowed the same outside and foreign interference in our election, in which there
is a probability votes were in fact altered and manipulated contrary to the will of the voters.”

         Where to begin. As an initial matter, voters in Antrim County, Michigan, used pens and
pencils to hand mark paper ballots, which remain in the custody of Republican election officials in
Antrim County. Dominion machines simply counted the votes on those paper ballots. If foreign
countries, hackers, Democrats, George Soros, space aliens, or anyone else had hacked into the
Dominion machines in Antrim County and manipulated the vote tallies in those machines, then
the machine tallies would not match the votes on the paper ballots in the possession of the
Republican county officials. In fact, they do match, as confirmed by a hand recount of the paper
ballots.17

        But above and beyond the fact that the hand recount conclusively disproves ASOG’s false
accusations, the “report” also contains a staggering number of inaccuracies; obvious
misrepresentations about election procedures, hardware, and software; and other obvious indicia of
unreliability. It is fraught with errors and gross misrepresentations of election security and voting
machines and software. For example:

            •    The report references the “allowable election error rate established by the Federal
                 Election Commission.” The FEC does not regulate voting machines or software. It
                 regulates campaign finance. The authors of the report apparently confused the FEC
                 and the Election Assistance Commission (“EAC”) because they lack basic familiarity
                 with election security and the regulations pertaining to it. Dominion’s election
                 voting system suite is, as you know, certified by the EAC.

            •    The report also says that a “forensics team” “perform[ed a] forensic duplication of
                 the Antrim County Election Management Server running Dominion Democracy
                 Suite 5.5.3-002.” But there is no Democracy Suite 5.5.3-002. Instead, 5.5.3-002 is
                 the version of the ImageCast Precinct tabulator (i.e., the actual scanner), not the
                 election management server or software. This demonstrates that the report’s creators
                 don’t even know the difference between the relevant hardware, software, and servers
                 involved.

            •    The report also claims that “all adjudication log entries for the 2020 election cycle
                 are missing” and must have been “manually removed.” In fact, Antrim County only
                 purchased (and therefore only used) certain components of Dominion’s voting
                 system suite; they neither purchased nor used nor possessed the hardware required



17
    Trump still wins small Michigan county after hand recount, Associated             Press   (Dec.   17,   2020),
https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-elections-
07e52e643d682c8033a0f26b0d863387.



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                   to use the adjudication software. Therefore, no adjudication log entries were
                   “manually removed” because there were no adjudication log entries to begin with.

              •    The report’s claim of a 68% “error rate” evidences a fundamental misunderstanding
                   of election software. The report bases that so-called “error rate” off the tabulation
                   logs. But the tabulation logs do not reflect the machine’s tabulation of votes; they
                   record activities logged by the machine during the tabulation process. So the report’s
                   claim that “these … tabulation totals were used as the official results” is false (because
                   they are a recording of machine activity, not votes). Simply put, the authors of the
                   report grossly misrepresented what the logs show. While the report asserts that a
                   huge percentage of machine activity reflected in the tabulation logs were “errors” or
                   “warnings,” it offers no explanation of how its authors identified or defined an
                   “error” or “warning.” The report references three settings—“reverse,” “divert,” and
                   “override”—as examples of these so-called “critical errors” or “warnings.” But these
                   are not “errors.” They are parameters used in the tabulator to handle ballots that,
                   for example, include write-in candidates or ballots that contain votes for two
                   candidates for the same office. Calling these “errors” is analogous to claiming that
                   the low fuel indicator light turning on in a car is an “error”—it is of course not an
                   error; the car is operating precisely how it is supposed to. Similarly, just because the
                   tabulator recorded, for example, “divert” does not mean that there was an error with
                   the ballot or the vote; precisely the opposite—it means that the machine operated
                   properly in response to that ballot.

         People who are actually knowledgeable about election security and procedures in Antrim
County promptly, publicly, and forcefully rebutted the report you commissioned. Antrim County
officials determined—and publicly announced—that the report was “riddled with false and
unsupported claims, baseless attacks, and incorrect use of technical terms.”18 Similarly, the former
acting director of the EAC’s Voting System Testing and Certification program said that the report
showed a “grave misunderstanding” of Antrim County’s voting system and “a lack of knowledge of
election technology and process.”19 Michigan’s Attorney General and Secretary of State issued a
joint statement that the report was “critically flawed, filled with dramatic conclusions without any
evidence to support them.”20 And the Republican county clerk for Antrim County stated that the
report contained “many misleading statements” and was “simply not accurate.”21



18
   See Ali Swenson, Report spreads debunked claims about Dominion machines in Michigan county, Associated Press (Dec. 15,
2020), https://apnews.com/article/fact-checking-afs:Content:9847904839.
19
   See Todd Spangler, Former election security chief for Trump knocks down Antrim County report, The Detroit Free Press (Dec.
16, 2020), https://www.freep.com/story/news/politics/elections/2020/12/16/antrim-county-report-debunked-by-
former-trump-election-official/3923499001/.
20
   AG, SOS: Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates Lack of Credible Evidence in Widespread Fraud
or Wrongdoing, Michigan Dep’t of Attorney General (Dec. 14, 2020), https://www.michigan.gov/ag/0,4534,7-359-
92297_47203-547422–,00.html.
21
   Craig Mauger, Michigan election officials slam report on votes in Antrim County, The Detroit News (Dec. 14, 2020),
https://www.detroitnews.com/story/news/politics/2020/12/14/michigan-judge-allows-release-report-antrim-county-
voting/6537394002/.



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      As you are well aware from numerous credible sources in the public domain, the issue in
Antrim County was caused by human error, not Dominion machines:

        •    The Office of Michigan’s Secretary of State publicly announced that the “erroneous
             reporting of unofficial results in Antrim county was a result of accidental error on the
             part of the Antrim County Clerk. The equipment and software did not malfunction
             and all ballots were properly tabulated.”22

        •    A spokesperson for the Michigan Secretary of State confirmed, “We have not seen any
             evidence of fraud or foul play in the actual administration of the election … What we
             have seen is that it was smooth, transparent, secure and accurate.”23

        •    Following a bipartisan investigation into the vote in Antrim County, Michigan, the
             state’s Republican Senate Majority Leader Mike Shirkey announced, “Our investigation,
             which has been very intense, discovered none, none of the allegations and accusations
             against Dominion [are] true.”24

VII.    The ASOG Report Was Manufactured by Non-Experts Who Were Determined to Reach
        a False Preconceived Conclusion That the Election Had Been Stolen Through Machines

        To support your false claims about Dominion, you have repeatedly misrepresented the
credentials of those whom you commissioned to manufacture evidence of a stolen election, claiming
for example, that your team “was not just a ragtag bunch of misfits,” but “professionals with extensive
federal backgrounds, with all kinds of experiences and certifications in matters cyber.”25 In reality,
as you know, the team you paid to manufacture the ASOG “report” is comprised entirely of people
who are not actually experts in voting machines or election security.

        Although the report you commissioned purports to be based on the work of various
“experts,” it does not identify any of them by name except for Russell Ramsland, Jr. As you are well
aware from the report itself, Russell Ramsland claims to have degrees in business and political
science, neither of which are technical degrees conferring expertise in voting machines or election
security. And, as you know from documents that are readily available in the public domain and
referenced in the lawsuit against Defending the Republic, Inc.—an organization for which you are
now apparently the CEO—Ramsland is a conspiracy theorist who publicly claimed years ago that the


22
   The Office of Secretary of State Jocelyn Benson, False claims from Ronna McDaniel have no merit (Nov. 6, 2020),
https://www.michigan.gov/sos/0,4670,7-127-1640_9150-544676--,00.html.
23
    Nick Corasaniti, Reid J. Epstein & Jim Rutenberg, The Times Called Officials in Every State:
No Evidence of Voter Fraud, N. Y. Times (Nov. 10, 2020), https://www.nytimes.com/2020/11/10/us/politics/voting-
fraud.html.
24
   Abigail Censky, How Misinformation Lit The Fire Under A Year Of Political Chaos In Michigan, NPR (Jan. 1, 2021),
https://www.npr.org/2021/01/01/952528193/how-misinformation-lit-the-fire-under-a-year-of-political-chaos-in-
michigan.
25
   Patrick Byrne, How DJT Lost the White House, Introduction: Why I Was Involved Before November 3 & What I Learned
Because I was (1.3), Deep Capture (Jan. 24, 2021), https://www.deepcapture.com/2021/01/how-djt-lost-the-white-house-
introduction-why-i-was-involved-before-november-3-and-what-i-learned-by-doing-so/.



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“Deep State” was formed in the in 1930s in Nazi Germany by George Soros, George H.W. Bush’s
father, the Muslim Brotherhood, and “leftists.”26 (Soros was born in 1930.27)

        As you knew from working with Ramsland before you touted his bogus report on Antrim
County, Ramsland is either embarrassingly incompetent or intentionally deceptive in his quest to
manufacture evidence of electoral fraud: he was publicly discredited for providing “materially false
information” when he referenced and cited locations in Minnesota to support his claims of fraud in
Michigan. 28 Similarly, before you touted his report on Antrim County, Ramsland was publicly
discredited for grossly misrepresenting voter turnout rates in numerous Michigan counties.29

        It is readily apparent that you commissioned Ramsland not because he had relevant expertise
in voting machines and election security but because he was willing to manufacture evidence to
support the false preconceived narrative that the election had been stolen through voting machines.
As you know, Ramsland has been peddling the voting-machine-fraud narrative since at least 2018,
but against other voting machine companies—not against Dominion.

       Two years after losing a Republican primary election to Pete Sessions in 2016, Ramsland
claimed that Sessions had been robbed of a seat in Congress by vote-flipping machines in Dallas,
Texas. In that 2018 election, Dallas had used machines made by Election Systems & Software
(“ES&S”)—not Dominion. The following year, in 2019, Ramsland made similar claims about
Kentucky’s gubernatorial race, which was handled by machines made by ES&S and Hart Intercivic—
not Dominion. As you know, Ramsland submitted his claims about those elections to the
Department of Homeland Security (“DHS”), but DHS did not find his claims credible.

         Notably, if Ramsland’s claims about the ES&S and Hart Intercivic voting machines in Texas
and Kentucky were true, that would cast doubt on Trump’s wins in those states and several other
states that used those machines. But since that fact undermines your false preconceived narrative
that the election was stolen from Trump, you deliberately misrepresented Ramsland’s claims and
revised them to fit the story you wanted to tell: you changed the story so that it was Dominion—
rather than its competitors—who had been involved in the 2018 Dallas election.30 And, to further
bolster the credibility of the team you hired, you deliberately misrepresented that they had been

26
   John Savage, Texas Tea-Partiers Are Freaking Out over Deep-State Conspiracy Theories, Vice (Sept. 20, 2018), available at
https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-are-freaking-out-over-deep-state-conspiracy-theories.
27
   Wikipedia, “George Soros,” available at https://en.wikipedia.org/wiki/George_Soros.
28
      Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly
inaccurate claims about vote, PolitiFact (Dec. 4, 2020), https://www.politifact.com/factchecks/2020/dec/04/russell-
james-ramsland-jr/affidavit-michigan-lawsuit-seeking-overturn-electi/ ; see also, Louis Jacobson & Noah Y. Kim,
Giuliani cites affidavit with crucial errors in press conference, PolitiFact (Nov. 20, 2020), https://www.politifact.com/factche
cks/2020/nov/20/rudy-giuliani/giuliani-cites-affidavit-crucial-errors-press-conf/; Rule to Show Cause, Page v. Oath Inc.,
No. S20C-07-030 (Del. Super. Ct. Dec. 18, 2020).
29
   Clara Hendrickson, Affidavit in Michigan lawsuit makes wildly inaccurate claims about voter turnout in state, Detroit Free
Press (Dec. 4, 2020), https://www.freep.com/story/news/local/michigan/detroit/2020/12/04/michigan-lawsuit-
makes-wild-claims-voter-turnout/3829654001/.
30
   See, e.g., Interview of Patrick Byrne, tech millionaire founder of Overstock by Chanel Rion, One America News (Nov. 23, 2020),
https://www.youtube.com/watch?v=rkwE8PjpgDU&feature=youtu.be; Glenn Beck, Interview with Patrick Byrne (Dec.
1, 2020), https://www.youtube.com/watch?v=pTZsBotGRgU&feature=youtu.be; Economic War Room, Patrick Byrne
says evidence of election fraud is real (Dec. 2, 2020), https://youtu.be/PD_BHZQcmMI.



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hired by the state of Texas to investigate the 2018 Dallas election, even though you knew that it was
not the State of Texas that hired them, but—according to Ramsland himself—some unidentified
“citizens group” that had purportedly done so.31

VIII. Hand Recounts of Paper Ballots Have Disproven Your False Claims About Dominion

       You are well aware that there are real academics in election security, such as Professor J. Alex
Halderman and Professor Andrew Appel. In fact, when attempting to bolster your false claim that
the 2020 election had been hacked, you yourself cited them because they had previously raised
concerns about the hackability of voting machines. Of course, as you know, you did not hire them
because they did not endorse your false claim that the 2020 election was in fact hacked—a false claim
that you have repeatedly made to a global internet audience and to then-President Trump himself
during a meeting at the White House.

        Instead, they forcefully rebutted your false claim, explaining they “have never claimed that
technical vulnerabilities have actually been exploited to alter the outcome of any US election.”32
They further explained that “no credible evidence has been put forth that supports a conclusion
that the 2020 election outcome in any state has been altered through technical compromise.”33
Professor Halderman also performed an analysis of the voting equipment used in Antrim County
and affirmed that unofficial results were “initially reported incorrectly due to human error” and that
“Dominion machines tabulated the presidential election accurately.”34

        As you know, Professor Halderman and Professor Appel have repeatedly advocated for a
solution to any concerns about the security of voting machines: paper ballots. Paper ballots resolve
any potential concerns about vote-flipping algorithms and cyber-attacks on vote tabulators because
paper ballots can be audited and recounted by hand to verify that the tallies in the machines are
accurate. Americans voted on paper ballots in the 2020 election, and over a thousand independent

31
   See, e.g., Interview of Patrick Byrne, tech millionaire founder of Overstock by Chanel Rion, One America News (Nov. 23, 2020),
https://www.youtube.com/watch?v=rkwE8PjpgDU&feature=youtu.be; Glenn Beck, Interview with Patrick Byrne (Dec. 1,
2020), https://www.youtube.com/watch?v=pTZsBotGRgU&feature=youtu.be (noting that ASOG was “hired by the
state of Texas”); John Tabaco: Interview with Patrick Byrne, One America News                                (Nov. 18, 2020),
https://www.youtube.com/watch?v=PbAi7GhaSY8 (claiming that the state of Texas hired the firm Byrne is working
with to investigate the 2018 Dallas Election); William Marshall, Welcome to My Third World Home. May I Take Your Vote?,
Townhall (Nov. 12, 2020), https://townhall.com/columnists/williammarshall/2020/11/12/welcome-to-my-third-
world-home-may-i-take-your-vote-n2579941 (“Mr. Ramsland’s company became involved in studying this issue when
political activists in Texas, concerned over voting irregularities in the 2018 election, brought in the 1,137-page computer
log for the Dallas County central tabulation system. ASOG agreed to do the analysis pro-bono.”); Allied Security
Operations Group, Confidential Summary Report of Dallas County, Texas, Election Irregularities, Manipulations, and Massive
Security Breaches Involving Major International Voting Firms.
31
    See e.g., Patrick Byrne says evidence of election fraud is real, Economic War Room (Dec. 2, 2020),
https://youtu.be/PD_BHZQcmMI; Patrick Byrne: Dissecting The Election Steal, Operation Freedom (Nov. 24, 2020),
https://www.youtube.com/watch?v=5fs3tKtmiEA&feature=youtu.be.
32
   See Tony Adams, Prof. Andrew W Appel, et al., Scientists say no credible evidence of computer fraud in the 2020 election
outcome, but policymakers must work with experts to improve confidence, Matt Blaze (Nov. 16, 2020),
https://www.mattblaze.org/papers/election2020.pdf (emphasis added).
33
   Id. (emphasis added).
34
   Expert report affirms accuracy of Antrim County presidential election results, Michigan Secretary of State (Mar. 26, 2021),
available at, https://www.michigan.gov/sos/0,4670,7-127-93094-555635--,00.html.



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audits and hand recounts of paper ballots have repeatedly confirmed the accuracy of the vote tallies
in Dominion machines, conclusively disproving your false claim that vote tallies were manipulated
in Dominion machines. By way of example, on November 19, 2020, Trump-supporting Republicans
in Georgia announced that the state had verified the vote tallies from Dominion machines by
recounting 100% of the ballots by hand.

IX.      The Obviously Manufactured Bribery Accusation

        Georgia’s 100% hand recount conclusively debunked your false claim that the vote tallies in
Dominion machines had been manipulated. So you revised the lie and expanded the scope of the
conspiracy to discredit the hand recount that had disproven your original lie. Five days after the
announcement of the results of Georgia’s hand recount, you began falsely accusing Republicans of
taking bribes.35 You never presented any evidence of this claim because it is false and was obviously
manufactured to discredit the results of the hand recount of paper ballots.

X.       The Video “Evidence” of Ballot Shredding That Does Not Show Any Ballots or Shredding

         Similarly, in an effort to discredit Georgia’s hand recount of paper ballots, you also published
the demonstrably false claim that Dominion paid to have 3,000 pounds of ballots in Georgia
destroyed by “super-duper military-grade shredding,” that the shredding truck was intercepted, and
the that the partially-shredded ballots were dumped onto the floor of a local police station, along
with Chinese print shop receipts and shipping labels on the outside of the boxes that held the
ballots.36

         Apparently, to explain away the fact that no police officers have ever come forward to
corroborate this outlandish lie—you piled on another false accusation: that DHS initially took over
the investigation but was pressured to back off the investigation so that the FBI—who is also
apparently in on the sweeping international conspiracy involving Dominion and bipartisan election
officials across the country!—could take over and finish the shredding.

        Although you falsely claim that this ludicrous conspiracy theory is “documented in photos
and film,”37 you have never produced any such photos or film, nor even a “shred” of evidence from
the alleged ton and a half of ballots and Chinese shipping labels on the floor of the police station,
nor any other credible evidence to corroborate this ridiculous lie. Instead, the only “evidence” you
put forward is a video of innocuous footage of parking lots and cars coming and going, without any
footage of ballots being moved or shredded, along with a voice-over of an enthusiastic conspiracy




35
   Former CEO Of Overstock Says He Has Proof The Election Was Rigged, Can Overturn Biden’s Win, Populist Press (Nov. 24,
2020),       https://populist.press/former-ceo-of-overstock-says-he-has-proof-the-election-was-rigged-can-overturn-bidens-
win/.
36
   Patrick Byrne, How DJT Lost the White House, Chapter 4: The Christmas Doldrums (December 23- noon January 6), Deep
Capture (Feb. 4, 2020), https://www.deepcapture.com/2021/02/how-djt-lost-the-white-house-chapter-4-the-christmas-
doldrums-december-23-noon-january-6/.
37
   Id.



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theorist simply asserting—without any photographic or video evidence whatsoever—that the cars in
the video were suspicious (they were not).38

        This fake evidence is all you have put forward because, as you know, there is no real evidence
to support the ballot-shredding lie. No such evidence exists because the tale is a fantasy, plainly
fabricated out of whole cloth to explain away the fact that Georgia’s 100% hand recount of paper
ballots conclusively disproved the lie that the tallies in Dominion machines had been manipulated.
As you know, bipartisan election officials—including Trump-supporting Republicans—have
confirmed the vote tallies and debunked the ballot-shredding lies. As reported by The New York
Times a month before you published the ballot-shredding lie on your blog:

         “There is no shredding of ballots going on,” Mr. Sterling said with clear annoyance.
         “That’s not real. It’s not happening.”

         Workers did shred secrecy envelopes: the blank envelopes that protect the privacy of
         a voter’s absentee ballot and go inside an outer envelope. It’s the outer envelope that
         voters have to sign, and election officials have kept those outer envelopes as required
         by law. The secrecy envelopes, however, “have no evidentiary value,” Mr. Sterling
         said, because by definition, they have no identifying information on them.39

Similarly, as reported by PolitiFact a month before you published the lie on your blog:

         State election officials rejected the claim, as did election officials from Fulton
         County, who identified the pieces of paper as the waste from the envelopes that
         absentee ballots come in.

         “There are no shredded ballots. We’ve had no credible reports of this happening
         anywhere,” Gabriel Sterling, a Republican who manages Georgia’s voting system
         implementation, told PolitiFact. “It’s a federal crime to shred ballots. It’s not
         happening, and if there was evidence as such, law enforcement would be called and
         there would be an investigation.”40

If you actually had evidence—as opposed to anonymous hearsay and a video that doesn’t show what
you claim it shows—that a federal crime had occurred, surely you would have provided it to law
enforcement and included it in your blog posts and book. The fact that you have not done so proves
that you do not have the evidence you claim to have.




38
   Id.
39
   Maggie Astor, A Georgia election official debunked Trump’s claims of voter fraud, point by point, N.Y. Times (Jan. 4, 2021),
https://www.nytimes.com/2021/01/04/us/politics/trump-georgia-election-fraud.html.
40
   Samantha Putterman, Facebook posts Says shredded ballots were found in Dell boxes in Georgia, PolitiFact (Jan. 6, 2021),
https://www.politifact.com/factchecks/2021/jan/06/facebook-posts/no-there-were-no-shredded-ballots-found-during-
geo/.



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XI.     Biden’s “Unexplained” Come-from-Behind Victory that Was Repeatedly Explained Both
        Before and After the Election

       Also in support of your false claims against Dominion, you have pointed out the “evidence”
of Biden’s purportedly unexplained come-from-behind victory, pointing to the so-called “injection”
of Biden votes through a purported “digital ‘fix’” late in the vote-counting process.41




        But there’s no mystery whatsoever about those so-called “injections” of Biden votes. In the
months leading up to the 2020 election, Fox News repeatedly broadcast segments to its conservative
audience in which its hosts and their guests disparaged mail-in voting and encouraged Fox’s viewers
to vote in person on Election Day. As just a few examples:

        •   On May 22, 2020, Jeanine Pirro appeared on Tucker Carlson Tonight and said that “if
            you want to guarantee that your vote is going to be counted … it’s got to be at a polling
            place;” she also disparaged the widespread use of mail-in ballots.

        •   On August 24, 2020, Lou Dobbs complained about mail-in voting before prompting his
            guest to talk about the “moral obligation” of encouraging viewers to “vote in person” to
            avoid votes being “lost.”

        •   On October 11, 2020, during an interview with Maria Bartiromo, President Trump
            disparaged mail-in voting, lamenting that votes would likely be counted “two weeks after
            the vote comes in,” and stated that “Republicans are going out to vote—they don’t want
            to do the [mail-in] ballot thing, they don’t trust it. Republicans are going out to vote.
            And those polls that are opening up and that will be opening up, they are going to be
            swamped.”

        Not surprisingly, given the above, months before Election Day, the head of the Fox News
Decision Desk correctly predicted that “on election night, we may be looking at states where it seems
that President Trump is in the lead, but there’s still 20 or 30 percent of the vote outstanding … so

41
    Patrick Byrne, Evidence Grows: ’20 Election Was Rigged, Deep              Capture   (Nov.   24,   2020),
https://www.deepcapture.com/2020/11/election-2020-was-rigged-the-evidence/.



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we’re not [going to be] able to make the call in those states.”42 He correctly recognized—and Fox
widely and repeatedly reported—that this would occur because President Trump had criticized mail-
in voting and encouraged Republicans to vote in person, whereas Democrats had encouraged their
supporters to vote by mail.43

        The widespread reporting on this phenomenon could not have escaped your attention.
Instead, it appears that you were well aware of the fact that “injections” of Biden votes did not reflect
a “digital ‘fix,’” but were the natural consequence of President Trump and his preferred cable
network discouraging Republicans from voting by mail while Democrats encouraged their
supporters to do precisely that in order to avoid exacerbating the spread of COVID-19 at polling
places on Election Day. Yet, instead of explaining that phenomenon to your audience, you
deliberately misrepresented it in order to support your false charges of election fraud against
Dominion.

XII.     You Lied About Dominion’s History and Purported Connections to Foreign Dictators

         In an effort to bolster your false accusations of election rigging against Dominion, you have
also falsely claimed that Dominion is associated with foreign dictators like Hugo Chávez, Sadaam
Hussein, and Osama Bin Laden.

        For example, you have intentionally misrepresented Dominion’s history in an effort to
tarnish Dominion with an accusation that has been leveled against its competitor—namely, the
accusation that Smartmatic was founded in Venezuela to rig elections for the now-deceased dictator
Hugo Chávez. For example, you stated during a televised interview: “especially Dominion, by now
everyone knows the story, that it was Hugo Chávez that wanted some election software built” and
“Dominion software was built so that the election officials could use it to cheat.”44 You’ve similarly
claimed that Dominion “really is Venezuelan systems.”45

        As you well know, Dominion was not founded in Venezuela to fix elections for Hugo
Chávez. It was founded in 2002 in John Poulos’s basement in Toronto to help people with visual
impairments vote on paper ballots. By 2009, Dominion’s business had grown in the United States,
and a subsidiary company, Dominion Voting Systems, Inc., was incorporated in Delaware and
headquartered in Denver, Colorado. By 2018, the majority of the business’s customers and
employees were in the United States, so Poulos sold the majority stake of the business to U.S.
investors. Dominion is now headquartered in Colorado. Its systems are certified under standards
promulgated by the U.S. Election Assistance Commission (“EAC”), reviewed and tested by
independent testing laboratories accredited by the EAC, and were designed to be auditable and
include a paper ballot backup to verify results. Dominion’s source code was not designed to steal
elections; it is on file with federal and state agencies and is reviewed regularly by third-party labs that
42
   Caleb Parke, Head of Fox News Decision Desk: Why Results in Swing States Likely Won’t Be Known on Election Night, Fox
News (Aug. 11, 2020), https://www.foxnews.com/politics/election-trump-biden-when-will-results-known.
43
   Id.
44
       Patrick  Byrne:    Dissecting   The     Election   Steal,    Operation       Freedom     (Nov.     24,    2020),
https://www.youtube.com/watch?v=5fs3tKtmiEA&feature=youtu.be.
45
   #TNTR 11.29.20 Founder of Overstock, Patrick Byrne: Caught – 100 Percent Rigged Election, The Naked Truth Report
(Dec. 1, 2020), https://www.youtube.com/watch?v=UPtHWlTuji4.



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are federally accredited by the EAC and the National Institute of Standards and Technology
(“NIST”).

        Dominion and Smartmatic are competitors; neither is owned by the other. To be sure, as
you know, Dominion and Smartmatic once both serviced an election in the Philippines, in which
Dominion’s software was licensed to Smartmatic for use in the Philippines—not the other way
around. And, after the Department of Justice blocked Smartmatic’s acquisition of an American
voting machine company, Sequoia Voting Systems, Dominion purchased Sequoia’s assets, which
did not contain any Smartmatic software, source code, or “algorithms.” But as you are well aware
from your admitted review of the relevant corporate and legal documents, Smartmatic’s software
and source code was not used in Dominion’s machines in the 2020 election. Your attempts to
falsely tarnish Dominion with the Chávez-election-rigging accusations about Smartmatic
demonstrate that you understood the relevant documents and that you know your accusations about
Dominion are false.

        Another example: you published the lie that the CEO and Chairman of Dominion’s owner
“was a close confidant to Sadaam Hussein and worked for the Saudi Bin Laden group.”46 You have
never put forward any evidence to support this incredible claim. As you know, there is no such
evidence because the claim is, quite obviously, false and was manufactured out of thin air to support
your false election-rigging claims against Dominion.

XIII. You Lied About Dominion in Washington, D.C. and to a Worldwide Internet Audience

         For weeks after the election, you continued to spout these false claims to anyone who would
listen: you appeared on Newsmax,47 One America News Network,48 “The Naked Truth Report,”49
“The Economic War Room,”50 The Blaze with Glenn Beck,51 Breitbart;52 InfoWars;53 and you spoke
at the Women for America Rally on December 12 in Washington, D.C.54 Your campaign reached

46
   Patrick Byrne, How DJT Lost the White House, Chapter 2: Was there Foreign Interference in this Election? You Make the Call.,
Deep Capture (Jan. 31, 2020), https://www.deepcapture.com/2021/01/how-djt-lost-the-white-house-chapter-2-was-
there-foreign-interference-in-this-election-you-make-the-call/.
47
        Internet      Retail      Giant       Helps       Trump       Team,      Newsmax          (Nov.        17,     2020),
https://www.deepcapture.com/2020/11/newsmaxtv-breaks-cone-of-silence-millions-hear-story-there-first/.
48
   Interview of Patrick Byrne, tech millionaire founder of Overstock by Chanel Rion, One America News (Nov. 23, 2020),
https://www.youtube.com/watch?v=rkwE8PjpgDU&feature=youtu.be; Former CEO of Overstock Says He Has Proof The
Election Was Rigged, Can Overturn Biden’s Win, Populist Press (Nov. 24, 2020), https://populist.press/former-ceo-of-
overstock-says-he-has-proof-the-election-was-rigged-can-overturn-bidens-win/; Patrick Byrne: Dissecting the Election Steal,
Operation Freedom (Nov. 24, 2020), https://www.youtube.com/watch?v=8lGdRb8IZKA&feature=youtu.be.
49
   See, The Founder of Overstock.com: Patrick Byrne: Caught — 100% Rigged Election, The Naked Truth Report (Nov. 29,
2020), https://www.youtube.com/watch?v=UPtHWlTuji4&feature=youtu.be.
50
    Patrick Byrne Says Evidence of Election Fraud Is Real, The Economic War Room (Dec. 1, 2020),
https://www.youtube.com/watch?v=PD_BHZQcmMI&feature=youtu.be.
51
     Why Cyber Experts Are Checking Fraud in These Six Counties, Glenn Beck (Dec. 1, 2020),
https://www.youtube.com/watch?v=pTZsBotGRgU&feature=youtu.be.
52
   Patrick Byrne, Breitbart (Dec. 4, 2020), https://soundcloud.com/breitbart/patrick-byrne-december-4-2020.
53
      Patrick Byrne, News Reports, and Analysis, The Alex Jones Show (Dec. 16, 2020),
https://www.bitchute.com/video/GeLPgDVhHBSr/.
54
   Women for America First Rally, CSPAN (Dec. 12, 2020) https://www.c-span.org/video/?507234-1/women-america-rally;
Patrick Byrne, Breitbart (Dec. 4, 2020), https://soundcloud.com/breitbart/patrick-byrne-december-4-2020.



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its apex during a December 18 meeting at the White House, during which you urged then-President
Trump to deploy the National Guard to seize Dominion voting machines which you claimed
switched votes.55 Whenever given an opportunity, you falsely claimed that the 2020 election was
stolen through the manipulation of vote counts in Dominion machines and that you had the
evidence and “the data” to prove those claims in court. 56 You repeatedly promised to deliver
“overwhelming” and “super conclusive” evidence corroborating your claims. But although you
spread your lies broadly, you never produced anything except fake evidence, fake experts, and
deliberate misrepresentations of the facts.

         During a speech in Washington, D.C. on January 5, 2021, you told the crowd that “if we let
this [election] go down, we are crossing that line [from a Republic into an authoritarian regime] and
we will never recover;” that the American people “will never get a chance to change [rigged elections],
your children won’t get another chance to change it, and their children won’t get another chance;”
that you “know what’s coming for us” because you lived in communist China; that the Left has
“eroded many of our freedoms over recent decades;” that the “President has far more power than
you understand” so that the President can just say “there was foreign interference in this election”
and assume significant power; that “we’re seeing the world correctly and they’re the crooks;” and
you exhorted the crowd to “never put up with a rigged election.”57

        The day after your speech, a mob stormed the United States Capitol because they believed
the lie that the election had been stolen. Even then, you did not stop. To the contrary, you
continued to lie about Dominion on Twitter, on your blog, and in your self-published book.58 Just
as you intended, your lies reached millions of people. You yourself have advertised and promoted
your book across social media, touting that it “has hit #25 on Amazon Kindle” and “#1 in three
different categories.”59

XIV. You Knew Your Evidence Was Bogus, and It Is Time to Set the Record Straight

        You successfully duped millions of people into believing that the 2020 election was stolen
through the manipulation of vote counts in Dominion machines designed by dictators to rig
elections. But you knew that what you passed off as “evidence” to the public at large was nonsense.


55
   See Patrick Byrne, How DJT Lost the White House, Chapter 3: Crashing the White House (Dec. 18-22), Deep Capture (Feb.
1, 2021), https://www.deepcapture.com/2021/02/how-djt-lost-the-white-house-chapter-3-crashing-the-white-house-
december-18/ (You write that you “liked” the idea of using the National Guard to seize control of voting machines);
Jonathan Swan & Zachary Basu, Bonus Episode: Inside the Craziest Meeting of the Trump Presidency, Axios (Feb. 2, 2021),
https://www.axios.com/trump-oval-office-meeting-sidney-powell-a8e1e466-2e42-42d0-9cf1-26eb267f8723.html (noting
that you stated that “[t]here are guys with big guns and badges who can get these things [the voting machines].”).
56
       See,    e.g.,  Internet     Retail   Giant     Helps    Trump       Team,     Newsmax      (Nov.    17,     2020),
https://www.deepcapture.com/2020/11/newsmaxtv-breaks-cone-of-silence-millions-hear-story-there-first/.
57
    General Michael Flynn, Patrick Byrne speaking at Trump protest on Jan. 5th, 2021, YouTube (Jan. 5, 2021),
https://www.youtube.com/watch?v=DB2PdqOIxGI.
58
     See Patrick Byrne, The Deep Rig: How Election Fraud Cost Donald Trump the White House,
https://shop.aer.io/DeepCapture/p/The_Deep_RigHow_Election_Fraud_Cost_Donald_J_Trump/9780578861838-
11241.
59
   Patrick Byrne (@PatrickByrne) (Feb. 21, 021), previously available at https://twitter.com/PatrickByrne/status/136366
9465875943424.



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        You have a background in mathematics. You have a Ph.D. from Stanford University. You
earned a prestigious Marshall Scholarship. And you were the CEO of a billion-dollar company. You
were not fooled by the convicted-felon-slash-swingset-installer or the former mechanic who flunked
out of the Army’s entry-level training course on military intelligence. You were not duped by the
goofball who invented a cat-shaped gizmo and tried to find the Ark of the Covenant. You were not
hoodwinked by the fake spreadsheet or the misleading photograph or the silly video of the conspiracy
theorist narrating his stake-out of cars innocuously driving in and out of parking lots. And you
certainly were not duped by the “Deep State” conspiracy theorists Russell Ramsland and Sidney
Powell.

        No, you were not fooled. You manufactured, collected, and promoted fake evidence and
fake experts in order to deceive millions of people about the election, and you even deliberately
misrepresented your association with others who were acting in concert with you. Specifically, on
November 16, 2020, you falsely claimed that you had “never met Sidney.”60 But you later admitted
that you had met with her and Rudy Giuliani in early November just after the election. That meeting
was not just a quick exchange of pleasantries that might have slipped your mind when you claimed,
on November 16, that you had never met her. No, when you met Sidney Powell and Rudy Giuliani
just after the election, you pitched stolen election claims that were—according to you—“a little
farfetched for other people in Washington,” but to which Powell “was totally super receptive.”61
And, as you know, Powell foreseeably repeated your false claims during her defamatory media
campaign against Dominion.

         We do not yet know why you deliberately lied about your meeting with Sidney Powell. Nor
do we understand why someone of your intelligence, academic pedigree, and experience would
deliberately mislead the world about the integrity of an American election. We do note your
romantic affair with the now-notorious Russian agent, Maria Butina, who was sentenced to 18
months in prison after being indicted by federal prosecutors for trying to infiltrate powerful political
circles in the United States at the direction of the Russian government.62 And despite your recent
claim that you no longer have a financial interest in the blockchain voting technology you claim is
more secure than the voting technology you have spent the last seven months trying to destroy, we
believe that discovery will reveal telling information about your connections to and communications
with Ms. Butina, other Russian nationals, and others who stand to benefit—financially and
otherwise—from the lies you have told about Dominion.

       All such communications and any communications about Dominion—including all text
messages, emails, drafts, electronic data, and documents relating in any way to the matters discussed
above—must be preserved for pending and future litigation relating to these matters.



60
   Smackin’ the Kraken, Dark to Light with Frank & Beanz (Nov. 16, 2020), https://radioinfluence.com/2020/11/16/d
ark-to-light-smackin-the-kracken/.
61
   Patrick Byrne Explains Trump Path to Victory, Corsi Nation (Dec. 24, 2020), https://corsination.com/patrick-byrne-
explains-trump-path-to-victory/.
62
   Michael Corkery, Overstock C.E.O. Takes Aim at ‘Deep State’ After Romance With Russian Agent, N.Y. Times (Aug. 15,
2019), https://www.nytimes.com/2019/08/15/business/overstock-paul-byrne-maria-butina-affair.html.



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         In light of the information that has long been known to you and is additionally set forth
above, the only responsible thing for you to do at this point is to publicly and forcefully retract your
false claims about Dominion and set the record straight regarding the fake evidence and fake experts
you have put forward.

        But let us be perfectly clear. There is nothing you can say or do at this point to undo the
damage that has been done to Dominion. The company must therefore expressly reserve all legal
rights against you and remind you of your ongoing obligation to preserve all materials that relate in
any way to these matters.

                                                        Regards,


                                                        Thomas. A. Clare, P.C.



                                                        Megan L. Meier




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